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 1     TRACY L. WILKISON
       United States Attorney
 2     THOMAS D. COKER
       Assistant United States Attorney
 3     Chief, Tax Division
       ROBERT F. CONTE (Cal. Bar No. 157582)
 4     Assistant United States Attorney
       GAVIN L. GREENE (Cal. Bar No. 230807)
 5     Assistant United States Attorney
            Federal Building, Suite 7211
 6          300 North Los Angeles Street
            Los Angeles, California 90012
 7          Telephone: (213) 894-4600
            Facsimile: (213) 894-0115
 8          E-mail: Gavin.Greene@usdoj.gov
 9     Attorneys for the United States of America
10
                           UNITED STATES DISTRICT COURT
11
                          CENTRAL DISTRICT OF CALIFORNIA
12
                                   WESTERN DIVISION
13
14     United States of America,                  Case No. CV 17-1652 MWF (JCx)
15          Plaintiff,                            Stipulation to reduce FBAR penalty to
                                                  judgment
16                v.
                                                  [Proposed] Judgment, lodged
17     Fariba Ely Cohen,                          concurrently
18          Defendant.                            No Hearing Required
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